                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

CHRIS ROGERS,                     )
                                  )
           Plaintiff,             )
                                  )
     v.                           )                   Case No. 4:20-cv-00233-SRB
                                  )
ALL STATES MARKETING, INC., d/b/a )
PEAK AUCTIONEERING,               )
                                  )
           Defendant.             )

                                           JUDGMENT

       Defendant All States Marketing, Inc. d/b/a Peak Auctioneering extended an Offer of

Judgment pursuant to Federal Rule of Civil Procedure 68 to Plaintiff Chris Rogers, and Plaintiff

accepted the offer. Thereafter, the parties jointly filed an Offer of Judgment, Notice of Acceptance,

and Proof of Service and requested the Court enter judgment against Defendant in the amount of

$6,000, including all costs and attorneys’ fees. (Doc. #20).

       Accordingly, pursuant to Rule 68(a) the Court hereby enters judgment in Plaintiff’s favor

and against Defendant in the amount of $6,000 to satisfy all claims for relief sought in Plaintiff’s

Complaint, including all costs and attorneys’ fees.

       IT IS SO ORDERED.

                                                      /s/ Stephen R. Bough
                                                      STEPHEN R. BOUGH
                                                      UNITED STATES DISTRICT JUDGE

Dated: August 17, 2020




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